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                          UNITED STATES BANKRUPTCY COURT
                           FOR THE DISTRICT OF DELAWARE

In re                                            )
                                                 )
MATTRESS FIRM INC,. et al                        )   Case No. 18-12241 CSS
                                                 )
                                                 )   Chapter 11
  Debtors.                                       )   (Jointly Administered)

 OBJECTION TO CONFIRMATION OF JOINT PREPACKAGED CHAPTER 11 PLAN
     OF REORGANIZATION FOR MATTRESS FIRM INC. AND ITS DEBTOR
                           AFFILIATES

        The Robford Company, L.L.C. (“Robford”), by and through its attorneys, Buechler &

Garber, LLC, for its Objection to Confirmation of Joint Prepackaged Chapter 11 Plan of

Reorganization (the “Plan”) for Mattress Firm Inc. (“Mattress Firm”) and its Debtor Affiliates

(collectively, the “Debtors”) respectfully states:

                                           THE LEASE

        1.     Robford is the owner of the commercial premises located at 1000 South Colorado

Boulevard, Suite 108, Glendale, Colorado 80246 (the “Premises”).

        2.     On or about February 16, 2011, with Robford as landlord and a predecessor entity of

the Debtor (the “Predecessor Entity”) as tenant entered into the commercial real property lease

governing the occupancy of the Premises (the “Lease”). On or about March 3, 2014, the Predecessor

Entity and Mattress Firm entered into an Assignment and Assumption of Leases (the

“Assignment”). Pursuant to the terms of the Assignment, Mattress Firm assumed all obligations

under the Lease.

                                        BACKGROUND

        3.     The Debtors filed their Voluntary Petitions for relief under Chapter11 of the

Bankruptcy Code on October 4, 2018 (the “Petition Date”).

        4.     On the Petition Date, the Debtors also filed the Plan. The Plan generally provides
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three potential treatments for each of the Debtors’ commercial real property leases: (a) rejection of

the lease; (b) assumption of the lease under the lease terms; or (c) assumption of the lease subject to

renegotiated terms.

        5.     On October 19, 2018, the Debtors filed with the Bankruptcy Court their Notice of

Cure Amounts. The Debtors did not file a master list of the leases it intended to cure, or the

proposed cure amounts. Pursuant to the lease assumption procedures, a Notice of Cure is to be sent

separately to each individual landlord. Robford has not received a Notice of Cure indicating its

lease is to be assumed or what cure amount the Debtors propose.

        6.     During the Bankruptcy Case, the Debtors have filed seven separate Motions to Reject

Commercial Real Property Leases. The Lease is not subject to any of the lease rejection Motions.

        7.     Mattress Firm has failed to pay rents as required by the Lease.

        8.     Despite its failure to pay rents, Debtor remains in possession of the Premises.

                      OBJECTION TO CONFIRMATION OF THE PLAN

        9.     With respect to the Lease, the Plan is deficient in two regards and therefore cannot be

confirmed.

        10.    First, the Debtors must, prior to confirmation of the Plan, designate their intention

with respect to the Lease.

        11.    Robford, cannot determine how it intends to proceed with respect to Plan

confirmation issues without knowing the Debtors’ intention with respect to the Lease.

        12.    Accordingly, the Debtors should designate in the Plan or take such other action as is

necessary to indicate their intention with respect to the Lease.

        13.    Second, the Plan at Article VI, Paragraph A, provides with respect to any assumed

leases that “defaults under Assumed Contract and Assumed Lease will be cured by being Reinstated,

and all Claims under any Assumed Contract or Assumed Lease shall be paid by the Reorganized
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Debtors on the Effective Date or as soon as reasonably practicable thereafter.” See the Plan at page

27 (emphasis added).

        14.    Bankruptcy Code § 365(b)(1) provides:

       (1) If there has been a default in an executory contract or unexpired lease of the debtor, the
       trustee may not assume such contract or lease unless, at the time of assumption of such
       contract or lease, the trustee—
                (A) cures, or provides adequate assurance that the trustee will promptly cure, such
                default other than a default that is a breach of a provision relating to the satisfaction
                of any provision (other than a penalty rate or penalty provision) relating to a default
                arising from any failure to perform nonmonetary obligations under an unexpired
                lease of real property, if it is impossible for the trustee to cure such default by
                performing nonmonetary acts at and after the time of assumption, except that if such
                default arises from a failure to operate in accordance with a nonresidential real
                property lease, then such default shall be cured by performance at and after the time
                of assumption in accordance with such lease, and pecuniary losses resulting from
                such default shall be compensated in accordance with the provisions of this
                paragraph;
                (B) compensates, or provides adequate assurance that the trustee will promptly
                compensate, a party other than the debtor to such contract or lease, for any actual
                pecuniary loss to such party resulting from such default; and
                (C) provides adequate assurance of future performance under such contract or lease.

        15.    The Plan provides an indefinite amount of time to pay any cure obligation under

Bankruptcy Code § 365(b)(1), as is evident from the underlined language in the above paragraph 13

of this Objection.

        16.    Such is contrary to the mandates of Bankruptcy Code § 365(b)(1). Accordingly, the

Plan cannot be confirmed until it comes into compliance with Bankruptcy Code § 365(b)(1). In re

Kiwi Intern. Air Lines, Inc., 344 F.3d 311, 318 (3rd Cir. 2003) (holding “the debtor must cure all

defaults, assure future performance, and make the other contracting party whole before it may be

permitted to assume the agreement.”); In re Filene’s Basement, LLC, 2014 WL 1713416, *12

(Bankr. D. Del. April 29, 2014). (Bankruptcy Code § 365(b)(1) requires that the debtors “promptly

cure any defaults at the time the lease is assumed”); In re Armstrong World Industries, Inc., 348

B.R. 136, 162 (Bankr. D. Del. 2006) (Court sets forth that to assume under Code § 365, debtor must
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(a) cure all outstanding defaults under the lease, and (b) support the decision to assume by valid

business justifications).

          WHEREFORE Robford respectfully requests that this Court enter an Order denying

confirmation of the Plan and granting such other and further relief as this Court deems just and

proper.

DATED: October 31, 2018.                            Respectfully submitted,

                                                    By: /s/ Aaron A. Garber
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                                                    Attorneys for The Robford Company, L.L.C.
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                                CERTIFICATE OF SERVICE

   The undersigned certifies that on October 31, 2018, I served by First Class Mail a copy of the
OBJECTION TO CONFIRMATION OF JOINT PREPACKAGED CHAPTER 11 PLAN
OF REORGANIZATION FOR MATTRESS FIRM INC. AND ITS DEBTOR
AFFILIATES on all parties against whom relief is sought and those otherwise entitled to
service pursuant to FED.R.BANKR.P. and these L.B.R. at the following addresses:


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                                                     /s/ Nichole Garber
                                                    For Buechler & Garber, LLC
